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              15–3673
              Proctor v. LeClaire, et al.


                          UNITED STATES COURT OF APPEALS
                              FOR THE SECOND CIRCUIT
                                   ______________

                                        August Term 2016

                  (Argued: September 21, 2016       Decided: January 24, 2017)

                                       Docket No. 15‐3673

                                     PATRICK PROCTOR,

                                                             Plaintiff‐Appellant,
                                               v.

                  LUCIEN J. LECLAIRE, JR., former Deputy Commissioner,
                  Department of Corrections and Community Supervision,
                   BRIAN FISCHER, former Commissioner, Department of
                   Corrections and Community Supervision, ANTHONY J.
                     ANNUCCI, Acting Commissioner, Department of
                     Corrections and Community Supervision, JOSEPH
                     BELLNIER, Deputy Commissioner, Department of
                          Corrections and Community Supervision,

                                                          Defendants‐Appellees.*
              * The Clerk of Court is respectfully directed to amend the official
              caption in this case as it appears above.




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     Before:

         KATZMANN, Chief Judge, WESLEY and HALL, Circuit Judges.

            Appeal from an order of the United States District Court
     for the Northern District of New York (Sharpe, J.), granting
     summary judgment for Defendants‐Appellees. Plaintiff‐
     Appellant Patrick Proctor, an inmate who has been held in
     solitary confinement for over two decades and is currently under
     Administrative Segregation, filed this 42 U.S.C. § 1983 claim for
     deprivations of procedural and substantive due process. We
     conclude that triable issues of fact remain as to whether Proctor
     was denied the meaningful periodic reviews of his
     Administrative Segregation that procedural due process
     requires. We also conclude that the District Court erred in
     granting summary judgment sua sponte without adequate notice
     on Proctor’s substantive due process claim. VACATED and
     REMANDED.
                            ______________

           ELLIOT HARVEY SCHATMEIER (Timothy Gilman, on the
              brief), Kirkland & Ellis LLP, New York, NY, for
              Plaintiff‐Appellant.


           BRIAN D. GINSBERG, Assistant Solicitor General (Barbara D.
              Underwood, Solicitor General, Andrea Oser, Deputy
              Solicitor General, on the brief), for Eric T.
              Schneiderman, Attorney General of the State of New
              York, Albany, NY, for Defendants‐Appellees.
                            ______________




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     WESLEY, Circuit Judge:
             Plaintiff‐Appellant Patrick Proctor is an inmate in the
     custody of the New York State Department of Corrections and
     Community Supervision (“DOCCS”), serving a sentence of
     thirty‐two‐and‐one‐half years to life for second‐degree murder,
     robbery, and attempted escape. He is confined in the Special
     Housing Unit (the “SHU”), or, as it is better known, solitary
     confinement, where he has spent the last twenty‐two years.
     Proctor spent his first nine years in the SHU under Disciplinary
     Segregation and the last thirteen years and counting under
     Administrative Segregation. Defendants‐Appellees are current
     and former DOCCS administrators: Lucien J. LeClaire, Jr., a
     former Deputy Commissioner of DOCCS; Brian Fischer, a former
     Commissioner of DOCCS; Anthony J. Annucci, the current
     Acting Commissioner of DOCCS; and Joseph Bellnier, the
     current Deputy Commissioner of DOCCS (collectively,
     “Defendants”).
            Proctor brings this action under 42 U.S.C. § 1983, alleging
     that his continuous confinement in the SHU under
     Administrative Segregation violates his Fourteenth Amendment
     rights to procedural and substantive due process of law. The
     District Court (Sharpe, J.) granted Defendants’ motion for
     summary judgment on Proctor’s procedural due process claim,
     holding that no reasonable juror could conclude that Proctor was
     denied meaningful periodic reviews of his Administrative
     Segregation commitment. The District Court also awarded
     summary judgment to Defendants sua sponte on Proctor’s
     substantive due process claim.
            We conclude that the record presents triable issues of fact
     regarding Proctor’s procedural due process claim and that the
     District Court violated Federal Rule of Civil Procedure 56(f) in
     awarding summary judgment sua sponte on Proctor’s substantive




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     due process claim. The judgment of the District Court is
     VACATED and the case is REMANDED for further proceedings.

                             BACKGROUND
                                      I
                                      A
            In the DOCCS system, there are two relevant reasons for
     prison administrators to send an inmate to the SHU—
     Disciplinary Segregation and Administrative Segregation (“Ad
     Seg”). Disciplinary Segregation, as its name suggests, is designed
     to discipline an inmate found guilty of a “Tier III” violation, the
     most serious of three infraction levels in the DOCCS system.
     N.Y. COMP. CODES R. & REGS. tit. 7, §§ 270.2, 270.3(a)(3), 301.2. A
     Disciplinary Segregation term lasts “for a designated period of
     time as specified by the hearing officer.” Id. § 301.2(a). Once that
     time elapses, the statute does not empower DOCCS to punish
     the inmate doubly for the same infraction by imposing further
     Disciplinary Segregation. See id.
             Ad Seg serves a different purpose. As relevant here, Ad
     Seg removes an inmate from the general population when he
     “pose[s] a threat to the safety and security of the [prison]
     facility.” Id. § 301.4(b). Given the importance of that purpose, Ad
     Seg is flexible and accords DOCCS officials substantial discretion
     in deciding whether to impose an Ad Seg term. Ad Seg terms are
     open‐ended and do not require that DOCCS predetermine when
     it will release an inmate—“[a]t any time when deemed
     appropriate [by DOCCS], an inmate may be evaluated and
     recommended for return to general population.” Id. § 301.4(e)
             There is, however, a constitutional ceiling on that
     flexibility: To ensure that a state prison facility does not use Ad
     Seg as a pretext to commit an inmate to the SHU indefinitely, the




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     Due Process Clause of the Fourteenth Amendment mandates
     that prison officials periodically review whether an inmate
     continues to pose a threat to the facility. Hewitt v. Helms, 459 U.S.
     460, 477 n.9 (1983), abrogated in part on other grounds by Sandin v.
     Conner, 515 U.S. 472 (1995). New York effectuates that mandate
     by providing an inmate with an initial hearing within fourteen
     days of his confinement in Ad Seg, see N.Y. COMP. CODES R. &
     REGS. tit. 7, §§ 254.6, 301.4(a), and with reviews conducted
     pursuant to section 301.4(d) of the DOCCS regulatory code
     (“section 301.4(d) reviews”) every sixty days until he is returned
     to the general population, see id. § 301.4(d).
             Section 301.4(d) review, as it manifests itself in this case, is
     a three‐step process.1 First, a committee commonly referred to as
     the “Facility Committee,” consisting of “a representative of the
     facility executive staff, a security supervisor, and a member of
     the guidance and counseling staff,” convenes to review the
     inmate’s institutional record. Id. § 301.4(d)(1). The Facility
     Committee prepares and submits to the superintendent of the
     prison a report outlining “(i) reasons why the inmate was
     initially determined to be appropriate for [Ad Seg]; (ii)
     information on the inmate’s subsequent behavior and attitude;
     and (iii) any other factors that [the committee] believe[s] may
     favor retaining the inmate in or releasing the inmate from [Ad
     Seg]” and recommending whether to continue the inmate’s SHU
     term. Id.
         Second, the superintendent forwards the Facility
     Committee’s report and any written response that the inmate

     1 In other cases, section 301.4(d) review is streamlined into a process
     where officials from the prison facility, including the superintendent,
     review an inmate’s case and render a final decision without the input
     of the DOCCS headquarters. Id. § 301.4(d)(2).




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     submits to a “Central Office Committee” located at DOCCS
     headquarters in Albany, New York, for “Central Office Review.”
     The Central Office Committee, “consisting of a representative
     from the office of facility operations, a member of [the DOCCS]
     inspector general’s staff, and an attorney from the office of
     counsel,” reviews the Facility Committee’s report, develops its
     own recommendation whether the inmate continues to pose a
     safety threat to the facility, and forwards the paperwork to the
     deputy commissioner of DOCCS. Id. § 301.4(d)(3).
            Third, the deputy commissioner reviews the two
     committees’ recommendations, as well as the inmate’s written
     statement when applicable, and decides whether to continue the
     inmate in Ad Seg. Id. Once the deputy commissioner makes a
     final decision, he or she notifies the superintendent of the
     inmate’s prison facility, who provides written notice to the
     inmate of the decision and its “reason(s),” and a statement
     notifying the inmate of his right to submit a written statement in
     the next section 301.4(d) review. Id. § 301.4(d)(4).
                                     B
             Proctor is currently held under Ad Seg in the SHU at the
     Upstate Correctional Facility. He is serving a state prison term of
     thirty‐two‐and‐one‐half years to life for second‐degree murder
     and attempted escape and is first eligible for parole in 2024.
     Proctor previously served two other terms in state prison for
     convictions of, inter alia, burglary, robbery, and assault.
            Proctor’s early years in prison (in the 1980s and early
     1990s) were marked by violence and dangerous defiance of the
     law. Proctor stabbed an inmate. He “absconded from a job
     search from the Edgecombe Correctional Facility.” Proctor v.
     Kelly, No. 9:05‐cv‐0692, 2008 WL 5243925, at *14 (N.D.N.Y. Dec.
     16, 2008) (“Proctor I”) (Suddaby, J.) (internal quotation marks




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     omitted). He attempted to escape from a police vehicle by
     unlocking his handcuffs and kicking a window. See id at *16. He
     professed a desire to be “more famous than Willie Bosket,” a
     notorious prisoner in DOCCS. Id. at *14. And he used a prison
     telephone to solicit (unsuccessfully) another person to firebomb
     a residence. Id. at *16.
            Proctor’s defiance reached its apex in November 1994,
     when he and three inmate‐accomplices executed an elaborate
     escape from Shawangunk Correctional Facility, a maximum
     security facility.2 DOCCS officials apprehended Proctor after he
     had been at large for about five hours. Disciplinary proceedings
     against Proctor for his escape resulted in a sentence of ten years
     of Disciplinary Segregation in the SHU.
            Proctor’s behavior in the SHU under Disciplinary
     Segregation varied. For the first three years of his SHU term, he
     continued his defiance. Proctor managed to remove his
     handcuffs without permission while in his cell. See Proctor I, 2008
     WL 5243925, at *14. He threw feces at DOCCS officials. See id. at
     *16. He twice set fire to his cell. Id. at *14, *16. He concealed a
     razor in his rectum. Id. He stabbed another inmate. Id. And he
     received disciplinary reports for “disorderly conduct, fighting,
     harassment, movement violations, refusing direct orders, and
     violent conduct.” Id. at *14. Later in his time in Disciplinary
     Segregation,     however,      Proctor’s     behavior     improved
     considerably. Defendants recount in their brief in this Court that
     “[b]ecause [Proctor] . . . had periods of good behavior while in
     [the] SHU, over time, DOCCS gradually reduced his



     2One DOCCS official described Shawangunk as “a maxi max” facility
     that “shouldn’t be escapable from.” J.A. 929.




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     [Disciplinary Segregation] penalty to nine years and one
     month.” Appellees’ Br. 10.
             On the day he was scheduled to be released from
     Disciplinary Segregation, DOCCS served Proctor with an “[Ad
     Seg] Recommendation” and retained him in the SHU. Proctor I,
     2008 WL 5243925, at *10. DOCCS held a hearing shortly
     thereafter to determine if Proctor was appropriate for Ad Seg.
     See id. at *15. The hearing officer found that Proctor posed a
     threat to the prison facility based on Proctor’s criminal history
     and misbehavior, including his 1994 escape and his early
     behavior in Disciplinary Segregation. See id. at *10. As a result, as
     soon as Proctor’s Disciplinary Segregation ended, DOCCS
     retained him in the SHU under Ad Seg, where he has spent the
     last thirteen years and remains today.3
            Proctor’s behavioral record in Ad Seg has not been
     spotless. In the first few years, Proctor received “minimal”
     disciplinary reports for possession of contraband, lewd
     exposure, and “unhygienic acts, littering and harassment.” J.A.
     334, 348. In the last decade, he has committed two unhygienic
     acts and possessed one unidentified weapon. At times, he can be
     argumentative with his fellow Ad Seg inmates.
           But in the main, Proctor’s behavior has remained positive.
     He has gone long stretches—including one period of almost four
     years—without any disciplinary reports. See J.A. 320–34


     3 Although SHU conditions under Ad Seg and under Disciplinary
     Segregation are similar, DOCCS’s affords Ad Seg inmates a few
     additional privileges, such as access to playing cards, headphones, up
     to ten pieces of reading material, ten additional personal photos,
     stamps, and a small bottle of skin cream. See N.Y. COMP. CODES R. &
     REGS. tit. 7, § 303.2.




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     (fourteen months without a disciplinary report), 342–91 (almost
     four years without a disciplinary report), 395–424 (twenty
     months without a disciplinary report), 429–55 (twenty months
     without a disciplinary report). Particularly in the last eight years,
     DOCCS has observed that Proctor has made “an extensive effort
     to minimize his disciplinary violations.” J.A. 374. He received
     just one disciplinary report between December 2011 and the
     close of the record in this case. DOCCS considered Proctor’s
     attitude “positive,” “co[‐]operat[ive],” and “much improved.”
     J.A. 419, 506.
             Defendants have without fail conducted a section 301.4(d)
     review for Proctor every sixty days he has been in Ad Seg. Each
     time, the Upstate Corrections Facility Committee (made up of a
     rotating panel of Upstate Corrections officials) convenes to
     review Proctor’s institutional record and make a
     recommendation. That committee forwards Proctor’s paperwork
     to the Central Office Committee (comprising a rotating panel of
     officials from DOCCS headquarters), which in turn reviews
     Proctor’s case and any written statement Proctor submits. The
     Central Office Committee then issues a recommendation, which
     to this point invariably has been that Proctor should remain
     confined in Ad Seg, and forwards the paperwork to the deputy
     commissioner of DOCCS. The deputy commissioner reviews the
     Facility and Central Office Committees’ reports and adopts their
     recommendations. Finally, the Upstate Corrections Facility
     superintendent notifies Proctor of the deputy commissioner’s
     decision in a summary report.




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                                       II
             The procedural history in this case involves multiple
      lawsuits and a prior appeal, mostly addressing procedural issues
      unrelated to our decision today. Much of that history is
      described in detail in Proctor v. LeClaire, 715 F.3d 402, 406–11 (2d
      Cir. 2013) (“Proctor III”). Here, we briefly summarize the prior
      history and lay out the present dispute.
              Proctor brought his first pro se challenge to his Ad Seg
      commitment in 2005. Proctor I, 2008 WL 5243925. He brought a
      § 1983 claim alleging, inter alia, that various DOCCS officials,
      including then‐Deputy Commissioner LeClaire, deprived him of
      procedural and substantive due process by confining him in Ad
      Seg as soon as his Disciplinary Segregation ended, and violated
      the Eighth Amendment by forcing him to live in inhumane
      conditions in the SHU. Id. at *1. In a brief at the summary‐
      judgment stage, Proctor also claimed for the first time that
      defendants denied him due process by failing to conduct a single
      meaningful section 301.4(d) review to date. Id. at *1 & n.1.The
      district court granted summary judgment for the defendants. Id.
      at *1. Proctor’s appeal in this Court was dismissed as frivolous.
              In 2009, Proctor instituted his second pro se challenge to
      his Ad Seg commitment, the action which is ultimate source of
      this appeal. Proctor v. LeClaire, No. 9:09‐cv‐1114, 2011 WL
      2976911 (N.D.N.Y. July 21, 2011) (“Proctor II”) (Sharpe, J.). Again,
      Proctor brought a § 1983 claim against LeClaire asserting, inter
      alia, that his section 301.4(d) reviews since his initial commitment
      to Ad Seg were “sham[s], perfunctory[,] and meaningless” and
      performed as a pretext to confine Proctor in Ad Seg indefinitely.
      Id. at *1. The court understood Proctor to assert that LeClaire had
      deprived him of due process. See id. at *3–4; Willey v. Kirkpatrick,
      801 F.3d 51, 62 (2d Cir. 2015) (requiring that courts interpret pro
      se litigants’ papers “liberally ‘to raise the strongest arguments




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      they suggest’ ” (quoting Burgos v. Hopkins, 14 F.3d 787, 790 (2d
      Cir. 1994)). On LeClaire’s motion, the District Court dismissed
      Proctor’s action on res judicata and collateral estoppel grounds.
      Proctor II, 2011 WL 2976911, at *3–4. This time, Proctor timely
      appealed and was appointed counsel. Proctor III, 715 F.3d at 411.
      We reversed without expressing a view on the merits of
      Proctor’s claim, vacated the dismissal, and remanded for further
      proceedings. Id. at 411–17.
              On remand, Proctor, still aided by counsel, filed an
      amended complaint, the pleading in play in this appeal. That
      complaint added former Commissioner Fischer in his personal
      capacity and Acting Commissioner Annucci and Deputy
      Commissioner Bellnier in their personal and official capacities as
      defendants to this action. Proctor alleges that Defendants denied
      him procedural due process because none of the section 301.4(d)
      reviews while he was confined in Ad Seg has been
      “meaningful.” J.A. 67. Proctor supports his claim by arguing
      that, inter alia, Defendants “justified [his] continued confinement
      in Ad Seg by citing decades‐old incidents, such as the 1994
      escape, for which [he] already served his disciplinary sentence,”
      J.A. 68; that Defendants “used [his] consistent good behavior
      over the past several years against [him] as further justification
      to continue his confinement in Ad Seg,” J.A. 69 (emphasis
      omitted); and that many of Proctor’s reviews have consisted of
      “mere copying and pasting of language from one review to the
      next,” J.A. 71. Proctor concludes that “Defendants have used . . .
      sham reviews of [his] [Ad Seg] as a pretext to indefinitely
      confine [him] in the SHU.” J.A. 76.
             Proctor also alleges that his confinement in the SHU for
      twenty‐two uninterrupted years amounts to a deprivation of
      substantive due process. In light of physical and psychological
      injuries he claims to suffer, Proctor alleges that Defendants’




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      failure to undertake meaningful section 301.4(d) reviews
      “render[s] [his] indefinite confinement arbitrary and oppressive
      in a constitutional sense.” J.A. 77.
             Defendants moved for summary judgment on Proctor’s
      procedural due process claim, arguing primarily that Proctor’s
      section 301.4(d) reviews comport with procedural due process.
              To defend against Defendants’ motion, Proctor deposed
      witnesses from all three levels of his section 301.4(d) reviews. He
      began with Christopher DeLutis and Joseph Porcelli, members of
      Facility Committee panels that reviewed Proctor’s Ad Seg
      commitment. Both witnesses espoused the belief that, by and
      large, inmates who once posed an escape risk would never be
      appropriate candidates for release from Ad Seg. DeLutis testified
      that there is nothing any of the SHU inmates he has reviewed
      “could do for [him] to . . . believe that they were no longer an
      escape risk,” J.A. 567, and that there is no “behavior that those
      specific inmates could exhibit that would make [him] change
      [his] mind about whether or not they were an escape risk,” J.A.
      568. When asked if there was anything an inmate can ever do to
      overcome an escape history, DeLutis said, “All I know is . . . in
      my experience, I never recommended anybody for release.” J.A.
      572. Porcelli’s testimony was similar: He affirmed that he has
      “never dealt with a prisoner released from [Ad Seg] who has a
      history of escape.” J.A. 780–81. And when asked, “In your
      experience, once an inmate is placed in [Ad Seg], they’re never
      released to general population?” Porcelli responded, “[Y]es,
      that’s correct.” J.A. 770.
            The general view expressed by DeLutis and Porcelli did
      not change in Proctor’s case—both indicated that, given his
      escape attempts, they believed Proctor would never be released
      from Ad Seg. When asked, “Is there anything that Proctor could
      ever do to change your opinion about whether or not he should




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      be released [from Ad Seg]?” DeLutis answered, “No. I believe
      [Proctor] is right where he belongs.” J.A. 585. DeLutis ultimately
      admitted that Proctor’s behavior “plays no role in the decision
      whether or not to maintain him in [A]d [S]eg” because Proctor
      “is an escape risk.” Id. Porcelli again struck a similar tone, stating
      that “the only thing that Mr. Proctor could do for [Porcelli] to
      believe he’s not an escape risk” is “[g]et old” or “reach the end of
      his sentence.” J.A. 795. Even as Proctor’s counsel walked Porcelli
      through section 301.4(d) review reports demonstrating that
      Proctor had a positive disciplinary record for over five years,
      Porcelli stood by his decision to recommend continuation of
      Proctor’s Ad Seg term. He testified that Proctor “[s]till posed an
      escape risk” given “the amount of time he ha[s] to do” and that
      he had “[j]ust an inner feeling that . . . given the opportunity,
      [Proctor] would try to [escape] again.” J.A. 800.
             Porcelli raised one more issue of note: As a general
      matter, Porcelli confirmed that “[Ad Seg] is used for disciplinary
      reasons.” J.A. 797. He identified at least one instance in which
      Ad Seg “was used in place of discipline” because prison officials
      did not have enough evidence to “pin [a disciplinary infraction]
      on an individual that they suspected.” J.A. 771. He then
      admitted that “[Ad Seg] is being used for disciplinary reasons
      for Mr. Proctor.” J.A. 797. But see J.A. 931 (Miller: “Ad [S]eg is
      not to punish [Proctor].”).
             Proctor next deposed Scott Kelly and Mark Miller,
      members of Central Office Committee panels that conducted
      some of Proctor’s section 301.4(d) reviews. Both recounted
      methodical Central Office Review procedures, marked by strong
      reliance on Facility Committee reports. Kelly stated that he
      places great weight on the Facility Committee because they are
      “boots on the ground with the inmate.” J.A. 635. Miller similarly
      stated that the Central Office Committee relies “very heavily” on




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      the Facility Committee. J.A. 908. Miller testified that he does no
      preparation for meetings of the Central Office Committee and
      instead “rel[ies] on what is presented” by the Facility
      Committee. J.A. 904. Miller testified that he has never disagreed
      with a recommendation by the Facility Committee.
             Proctor’s counsel also asked both Kelly and Miller
      whether, in their experiences, Ad Seg inmates who once posed
      an escape risk have any hope of being returned to the general
      population. Kelly identified one instance in which an inmate
      who had been committed to Ad Seg after escaping from a
      juvenile facility outside the DOCCS system was later released
      from the SHU. See J.A. 635 (“[That] [t]he initial incident . . .
      occurred outside the [DOCCS system] was . . . taken into account
      [when deciding whether to release the inmate from Ad Seg].”).
      Miller was unable, however, to identify any inmate placed in Ad
      Seg after escaping a DOCCS facility who had been returned to
      the general population. See J.A. 929.
             Lastly, Proctor deposed Bellnier and LeClaire, the two
      deputy commissioners who conducted the final level of Proctor’s
      section 301.4(d) reviews. Bellnier’s recollection of his
      participation in the section 301.4(d) review process
      demonstrated significant reliance on both the Facility and
      Central Office Committees. Bellnier testified that in each section
      301.4(d) review form he receives, the portion indicating his final
      decision has already been completed for him by an unknown
      member of the Central Office Committee. That is, someone
      completes the deputy commissioner’s portion of the section
      301.4(d) review form before Bellnier reviews the Committees’
      work, and Bellnier merely signs the bottom of the form to
      indicate his approval. Just as Miller has never disagreed with a
      recommendation by the Facility Committee, Bellnier testified




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      that he has never disagreed with a recommendation by the
      Central Office Committee.
             When asked about Proctor in particular, both Bellnier and
      LeClaire focused on Proctor’s decades‐old escape history as
      stand‐alone justification for continuing his Ad Seg. LeClaire
      stated, “I’m not sure any action that [Proctor] could do would
      counteract his criminal history” because “Proctor’s criminal
      history alone justif[ies] his retention in [Ad Seg].” J.A. 714. That
      Proctor’s escapes and other serious misbehavior occurred in the
      distant past was not “relevant” to LeClaire’s section 301.4(d)
      reviews. Id. Bellnier concurred, testifying that he has “formed”
      the opinion that Proctor “would be a threat to any facility that he
      was in in general population.” J.A. 488. Bellnier stated that he
      “ha[s] not been presented with” any type of behavior Proctor
      could exhibit to get out of Ad Seg and suggested that he would
      continue to keep Proctor in Ad Seg even if Proctor’s behavior
      remained positive for decades so long as Proctor did not accept
      responsibility for past actions. J.A. 501; see J.A. 503.
             Proctor also sought production of the paperwork for each
      of his section 301.4(d) reviews since his initial Ad Seg
      commitment in 2003. Many of the section 301.4(d) reports reflect
      detailed evaluations of the appropriateness of Proctor’s
      continued Ad Seg term; occasionally, the reports contain specific
      objection‐by‐objection responses to Proctor’s written complaints.
      The reports also reveal, however, three issues of note: First, six of
      Proctor’s section 301.4(d) reviews, from December 2007 through
      October 2008, note that Proctor’s “[Ad Seg] status has a
      disciplinary aspect to it.” J.A. 368–74; see J.A. 364–66. Second,
      many of the reports are virtually identical to each other, with the
      exception of a few stray notations. See, e.g., J.A. 318–32 (over one
      year of virtually identical reports), 342–57 (over one year of
      virtually identical reports), 360–74 (over one year of virtually




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      identical reports). And third, the Facility Committee’s reasoning
      in some of the reports is hard to understand: The committee
      wrote that “[Proctor’s] positive behavior and attitude with staff
      make him a high profile security concern,” that Proctor’s
      “superficial[] cooperat[ion] on a day to day basis . . . can not [sic]
      mask his resistance to authority,” and that Proctor’s good
      behavior was irrelevant because the SHU “provides little
      opportunity for infractions.” J.A. 360–66, 373, 419. When asked at
      his deposition to explain what the Facility Committee meant by
      these notations, Porcelli responded, “That’s a little weird, isn’t it.
      . . . I can’t explain that.” J.A. 810.
             In October 2015, the District Court granted Defendants’
      motion for summary judgment. Proctor v. LeClaire, No. 9:09‐cv‐
      1114, 2015 WL 5971043 (N.D.N.Y. Oct. 14, 2015) (Sharpe, J.)
      (“Proctor IV”). The court held that although Defendants had
      deprived Proctor of a liberty interest by confining him in Ad Seg
      for more than 4,000 days, Proctor had received all the process
      due for that deprivation because Defendants provided Proctor
      with section 301.4(d) reviews that were, as a matter of law,
      meaningful. Id. at *3–5. The District Court then addressed
      Proctor’s substantive due process challenge, even though
      Defendants had not moved for summary judgment on that
      claim. Id. at *6. Without acknowledging it was raising summary
      judgment sua sponte and providing the parties with notice, the
      District Court concluded on its own that “[D]efendants did not
      exhibit conscious‐shocking [sic] behavior because they were
      never made aware of the alleged devastating effects of Proctor’s
      continued placement in Ad Seg.” Id. As a result, the court held
      Defendants were entitled to summary judgment on Proctor’s
      substantive due process claim as well. Id.
             This appeal followed.




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                                  DISCUSSION
             “[W]e review de novo a grant of summary judgment,”
      affirming “only where ‘there is no genuine dispute as to any
      material fact and the movant is entitled to judgment as a matter
      of law.’ ” Willey, 801 F.3d at 62 (quoting FED. R. CIV. P. 56(a)).
      “Summary judgment is inappropriate when the admissible
      materials in the record ‘ “make it arguable” ’ that the claim has
      merit.” Kaytor v. Elec. Boat Corp., 609 F.3d 537, 545 (2d Cir. 2010)
      (quoting Jasco Tools, Inc. v. Dana Corp. (In re Dana Corp.), 574 F.3d
      129, 151 (2d Cir. 2009)). We construe the evidence and draw all
      reasonable inferences in the light most favorable to the non‐
      moving party. Willey, 801 F.3d at 62. “In reviewing the evidence
      and the inferences that may reasonably be drawn, [we] ‘may not
      make credibility determinations or weigh the evidence . . . .
      “Credibility determinations, the weighing of the evidence, and
      the drawing of legitimate inferences from the facts are jury
      functions, not those of a judge.” ’ ” Kaytor, 609 F.3d at 545
      (omission in original) (emphases omitted) (quoting Reeves v.
      Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000)).4



      4 Defendants ask us to apply “a presumption of regularity” that they
      claim “attaches to the actions of government agencies[,] such as
      DOCCS,” and “public officers,” such as Defendants. Appellees’ Br. 22–
      23 (internal quotation marks omitted) (quoting U.S. Postal Serv. v.
      Gregory, 534 U.S. 1, 10 (2001); United States v. Chemical Found., 272 U.S.
      1, 14 (1926)). While we afford prison officials “wide‐ranging deference
      in the adoption and execution of policies” designed to promote
      institutional safety, Bell v. Wolfish, 441 U.S. 520, 547 (1979), Defendants
      cite no case, and we cannot find one, that applies such a presumption
      in a constitutional challenge to state prison officials’ periodic review of
      Ad Seg. We decline to do so today.




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                                       I
              Proctor claims that he was denied procedural due
      process. To prevail, he must be able to demonstrate (1) that
      Defendants deprived him of a cognizable interest in “life, liberty,
      or property,” (2) without affording him constitutionally
      sufficient process. U.S. CONST. amend. XIV, § 1; Wolff v.
      McDonnell, 418 U.S. 539, 556 (1974). The District Court held that
      Proctor’s SHU term in excess of 4,000 days gives rise to a
      cognizable liberty interest. See Sandin, 515 U.S. at 484 (holding
      that an inmate has a cognizable liberty interest in freedom from
      “restraint which . . . imposes atypical and significant hardship on
      the inmate in relation to the ordinary incidents of prison life”).
      Because Defendants take no issue with that decision, the sole
      issue before us on this claim is whether Defendants afforded
      Proctor sufficient process.
             Proctor raises a view of inmate procedural due process
      this Court has yet to address. While he acknowledges that
      Defendants have nominally afforded him sufficient process by
      conducting regular section 301.4(d) reviews, Proctor argues that
      those reviews have been in substance “hollow,” “perfunctory,”
      and meaningless. Appellant’s Br. 24. A meaningless section
      301.4(d) review, Proctor asserts, is the functional equivalent of
      no review at all and therefore constitutionally insufficient.
      Proctor also argues that Defendants have violated the Due
      Process Clause by using Ad Seg as a means to punish him
      improperly and as a pretext to confine him in the SHU
      indefinitely.
             Proctor’s argument raises two preliminary concerns: First,
      Proctor’s claim cannot serve as an appeal from his section
      301.4(d) reviews. Procedural due process does not permit a court
      to review the substance of Defendants’ decision to confine
      Proctor in Ad Seg. See Graziano v. Pataki, 689 F.3d 110, 116 (2d




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      Cir. 2012) (per curiam). We may not substitute our judgment for
      Defendants’, nor may we rebalance the section 301.4(d) criteria.
      See id. The Due Process Clause permits only an evaluation of
      whether Defendants’ method for coming to their Ad Seg
      determinations is sufficient. Second, we are mindful of the
      context in which this case arises and the deference we owe
      prison officials in carrying out their daily tasks. See Bell, 441 U.S.
      at 547–48. “[O]ne cannot automatically apply procedural rules
      designed for free citizens in an open society . . . to the very
      different situation . . . in a state prison.” Wolff, 418 U.S. at 560.
      With those observations in mind, we proceed to the merits of
      Proctor’s claim.
                                        A
             In Hewitt v. Helms, the Supreme Court described what
      process is due from prison officials making Ad Seg
      determinations. 459 U.S. at 474. The Court made clear that Ad
      Seg is appropriate when necessary to incapacitate an inmate who
      “represents a security threat” or to “complet[e] . . . an
      investigation into misconduct charges.” Id. at 476. So long as
      prison officials seek to achieve one or both of those goals, they
      have wide latitude in the procedures they deploy. Before
      confining an inmate in Ad Seg, prison officials must provide
      “some notice of the charges against him and an opportunity to
      present his views to the prison official charged with deciding
      whether to transfer him to [Ad Seg],” although not necessarily a
      full hearing. Id.; accord Taylor v. Rodriguez, 238 F.3d 188, 192 (2d
      Cir. 2001). Once that has occurred, prison officials need only
      conduct “an informal, nonadversary evidentiary review” of
      whether the confinement is justified. Hewitt, 459 U.S. at 476.
      Their final Ad Seg decision may “turn[] largely on purely




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      subjective evaluations and on predictions of future behavior.” Id.
      at 474 (internal quotation marks omitted).5
              Once an inmate has been confined in Ad Seg, Hewitt
      mandates that prison officials “engage in some sort of periodic
      review of the confinement” to verify that the inmate “remains a
      security risk” throughout his term. Hewitt, 459 U.S. at 477 n.9.
      Periodic Ad Seg reviews are also flexible and may be based on
      “a wide range of administrative considerations,” including but
      not limited to observations of the inmate in Ad Seg, “general
      knowledge of prison conditions,” misconduct charges, ongoing
      tensions in the prison, and any ongoing investigations. Id. The
      purpose of these periodic reviews is to ensure that the state’s
      institutional interest justifying the deprivation of the confined
      inmate’s liberty has not grown stale and that prison officials are
      not using Ad Seg as “a pretext for indefinite confinement of an
      inmate.” See id.
             It is well established that whenever process is
      constitutionally due, no matter the context, “[i]t . . . must be
      granted at a meaningful time and in a meaningful manner.”
      Armstrong v. Manzo, 380 U.S. 545, 552 (1965); accord Parratt v.
      Taylor, 451 U.S. 527, 540 (1981); Mathews v. Eldridge, 424 U.S. 319,
      333 (1976); Goldberg v. Kelly, 397 U.S. 254, 267 (1970); Taylor, 238
      F.3d at 193. Proctor’s claim seeks to measure what Hewitt
      requires for meaningful periodic review of Ad Seg. Guiding that
      analysis are the three Mathews factors—the government’s

      5 When the “sole purpose of confinement is punishment,” prison
      officials must provide more robust procedural protections. Patterson v.
      Coughlin, 761 F.2d 886, 890–91 (2d Cir. 1985) (citing Wolff, 418 U.S. at
      558); see also Bolden v. Alston, 810 F.2d 353, 357 (2d Cir. 1987) (“[T]he
      level of procedural protection differs according to the purpose of the
      confinement.”).




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      interest in limited fiscal and administrative burdens, the private
      interest in freedom from restraint, and “the risk of an erroneous
      deprivation of [the private] interest through the procedures
      used, and the probable value, if any, of additional or substitute
      procedural safeguards.” 424 U.S. at 335.
              The state’s interest in flexible Ad Seg review
      procedures—maintaining institutional security—is substantial.
      Institutional safety and security are perhaps a prison facility’s
      most important considerations. Bell, 441 U.S. at 546–47 (quoting
      Pell v. Procunier, 417 U.S. 817, 823 (1974)) (citing Jones v. N.C.
      Prisoners’ Labor Union, 433 U.S. 119, 129 (1977); Procunier v.
      Martinez, 416 U.S. 396, 412 (1974)). Courts must preserve prison
      officials’ “free[dom] to take appropriate action to ensure the
      safety of inmates and corrections personnel and to prevent
      escape.” Bell, 441 U.S. at 547. “Prison administrators therefore
      should be accorded wide‐ranging deference in the adoption and
      execution of policies and practices that in their judgment are
      needed to preserve internal order and discipline and to maintain
      institutional security.” Id. But see Covino v. Vt. Dep’t of Corr., 933
      F.2d 128, 130 (2d Cir. 1991) (per curiam) (“At some point . . . the
      administrative necessity for involuntary lock‐up begins to
      pale.”).
             However, the private interest implicated by an extended
      and indefinite stay in Ad Seg is also weighty. Hewitt instructs
      that an inmate in Ad Seg who “was merely transferred from one
      extremely restricted environment to an even more confined
      situation” generally does not have a private interest “of great
      consequence.” See 459 U.S. at 473. But Helms, the inmate in
      Hewitt, spent less than two months in Ad Seg awaiting his
      disciplinary hearing. Id. at 464–65. Proctor, by contrast, has spent
      thirteen years in Ad Seg with no release date in sight. Proctor’s
      interest in avoiding an indefinite Ad Seg term is surely




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      substantial, more so than Helms’s interest in avoiding a
      temporary Ad Seg term awaiting a hearing. Compare N.Y. COMP.
      CODES R. & REGS. tit. 7, § 301.3(a)(1) (providing for limited
      admission to the SHU “in the case of an inmate who is awaiting
      initial appearance before or determination of a disciplinary
      hearing” as in the case of Helms), with id. § 301.4 (providing for
      admission to the SHU under Ad Seg as in this case). We are not
      alone in this view. The Third Circuit has similarly concluded
      that an inmate who has spent an extended period of time in Ad
      Seg and whose term is “potentially limitless” has “a more
      significant liberty interest for due process analysis than that
      attributed to [Helms].” Mims v. Shapp, 744 F.2d 946, 951–52 (3d
      Cir. 1984).6
              In light of those counterbalancing interests, we believe
      that meaningful periodic reviews of Ad Seg must at least satisfy
      the following criteria:
            First, the reviewing prison officials must actually evaluate
      whether the inmate’s continued Ad Seg confinement is justified.
      See Hewitt, 459 U.S. at 477 n.9. It is not sufficient for officials to go
      through the motions of nominally conducting a review meeting
      when they have developed a pre‐review conclusion that the
      inmate will be confined in Ad Seg no matter what the evidence
      shows. Review with a pre‐ordained outcome is tantamount to no
      review at all.


      6 Tellingly, Helms’s fifty‐one‐day Ad Seg term likely would not
      require any constitutional process today. See Wilkinson v. Austin, 545
      U.S. 209, 229 (2005) (“Sandin abrogated . . . Hewitt’s methodology for
      establishing [a] liberty interest . . . .”); Sealey v. Giltner, 197 F.3d 578, 589
      (2d Cir. 1999) (holding 101‐day SHU term ordinarily does not give rise
      to a liberty interest after Sandin).




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              Second, the reviewing officials must evaluate whether the
      justification for Ad Seg exists at the time of the review or will
      exist in the future, and consider new relevant evidence as it
      becomes available. It is inherent in Hewitt’s use of the term
      “periodic” that ongoing Ad Seg reviews may not be frozen in
      time, forever rehashing information addressed at the inmate’s
      initial Ad Seg determination. Cf. Proctor III, 715 F.3d at 413
      (“[T]he initial authorization for confinement and the subsequent
      decisions to continue confinement—although plainly involving
      considerations that overlap—are not . . . the same transaction.”
      (internal quotation marks omitted)). Rather, reviews must take
      into account prison conditions and inmate behavior as they
      change over time; those changes may modify the calculus of
      whether the inmate presents a current threat to the safety of the
      facility. The periodic Ad Seg review test announced by the
      Hewitt Court is not whether the confined inmate was a threat to
      the facility when he was confined initially; it is whether the
      inmate “remains a security risk” on the date of the periodic
      review. See 459 U.S. at 477 n.9 (emphasis added). This is not to
      say that prison officials are barred from according significant
      weight to events that occurred in the past. Neither do we suggest
      that recent events categorically ought to be more salient in
      periodic reviews than those that occurred long ago. We conclude
      merely that prison officials must look to the inmate’s present and
      future behavior and consider new events to some degree to
      ensure that prison officials do not use past events alone to justify
      indefinite confinement. See id.
              Third and finally, the reviewing officials must maintain
      institutional safety and security (or another valid administrative
      justification) as their guiding principles throughout an inmate’s
      Ad Seg term. SHU confinement that began for proper Ad Seg
      purposes may not morph into confinement that persists for




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      improper purposes. The state is entitled to the procedural
      flexibility that Hewitt allows because of its manifest interest in
      maintaining safe detention facilities and other similar
      administrative concerns; “the Mathews balancing test tips in
      favor of the inmate’s liberty interest” when a state seeks to
      impose discipline. Patterson, 761 F.2d at 891. The state may not
      use Ad Seg as a charade in the name of prison security to mask
      indefinite punishment for past transgressions.
               Our resolution of this matter is in accord with the efforts
      of four of our sister circuits. In Kelly v. Brewer, 525 F.2d 394 (8th
      Cir. 1975), the Eighth Circuit observed that the essential
      characteristic that distinguishes Ad Seg from Disciplinary
      Segregation is that Ad Seg “looks to the present and the future”
      rather than punishing an inmate for the past. Id. at 399–400. The
      court reasoned that periodic Ad Seg decisions therefore must be
      based on “valid” justifications (such as institutional safety and
      escape prevention) that are “not only . . . valid at the outset but
      . . . continue to subsist during the period of the segregation.” Id.
      at 400. And to ensure that this mandate is followed, the court
      held that “where an inmate is held in segregation for a
      prolonged or indefinite period of time due process requires that
      his situation be reviewed periodically in a meaningful way and
      by relevant standards to determine whether he should be
      retained in segregation or returned to [general] population.” Id.
      The Third Circuit followed suit in Mims v. Shapp. Recognizing
      that “[t]he validity of the government’s interest in prison safety
      and security as a basis for restricting the liberty rights of an
      inmate subsists only as long as the inmate continues to pose a
      safety or security risk,” the court understood the Fourteenth
      Amendment to require the court to ensure that “periodic review
      does not become simply a sham.” 744 F.2d at 953–54. In Toevs v.
      Reid, 685 F.3d 903 (10th Cir. 2012), the Tenth Circuit agreed,




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      holding that periodic Ad Seg reviews “must be meaningful” and
      “cannot be a sham or pretext.” Id. at 912. And in Selby v. Caruso,
      734 F.3d 554 (6th Cir. 2013), the Sixth Circuit held that due
      process requires periodic Ad Seg decisions to be supported by
      “some evidence.” Id. at 559 (quoting Superintendent v. Hill, 472
      U.S. 445, 454 (1985)).7
                                         B
           Proctor has raised triable factual questions as to whether
      his section 301.4(d) reviews have been constitutionally
      meaningful.
              DOCCS officials’ own statements raise serious doubts
      about whether they have conducted Proctor’s periodic reviews
      with the outcomes pre‐ordained. We know from DeLutis and
      Porcelli, the “boots on the ground” whose opinions DOCCS
      officials accord significant weight, see J.A. 635,8 that Ad Seg may
      function as the equivalent of indefinite SHU confinement, even

      7Accord Tavares v. Amato, 954 F. Supp. 2d 79, 95 (N.D.N.Y. 2013); Smart
      v. Goord, 441 F. Supp. 2d 631, 641–42 (S.D.N.Y. 2006); Edmonson v.
      Coughlin, 21 F. Supp. 2d 242, 252–54 (W.D.N.Y. 1998); McClary v. Kelly,
      4 F. Supp. 2d 195, 213 (W.D.N.Y. 1998); Giano v. Kelly, 869 F. Supp. 143,
      149–51 (W.D.N.Y. 1994).
      8 Although the Facility Committee is empowered by statute to issue
      only a recommendation, not a final decision, on whether to continue
      an inmate’s Ad Seg term, the testimony of Facility Committee
      members DeLutis and Porcelli may carry significant weight at trial.
      The Facility Committee is more powerful in practice than it appears on
      paper. Central Office Committee members Kelly and Miller, as well as
      Deputy Commissioner Bellnier, all testified that they accord Facility
      Committee recommendations substantial weight. In fact, Kelly, Miller,
      and Bellnier all affirmed that they have never disagreed with the
      recommendation of the Facility Committee.




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      though section 301.4(d) reviews are nominally being conducted
      on a regular basis. According to the deponents, the standard
      DOCCS practice is that an inmate “never” gets out once he has
      been placed in Ad Seg. See J.A. 572, 770. No witness to date has
      been able to identify a single inmate confined in Ad Seg after an
      escape from a DOCCS facility who was later returned to the
      general population. The Due Process Clause, of course,
      commands a process, not a particular result. But, when process is
      nominally afforded to inmates over a significant period of time
      without any hint of success it may raise questions in a reasonable
      jury’s mind about whether that process has been meaningful as
      it relates to Proctor.
             Defendants’ statements indicate that Proctor’s section
      301.4(d) reviews in particular are no more than hollow
      formalities. LeClaire believes that Proctor’s “criminal history
      alone” can support continuing his Ad Seg term. J.A. 714. If that
      were true, it would obviate the need to conduct periodic reviews
      of Ad Seg and make a mockery of Hewitt’s admonition against
      indefinite confinement, as it would permit the continuation of
      Ad Seg based solely on past events that will never change.
      Porcelli’s descriptions of his section 301.4(d) reviews confirmed
      that he and LeClaire are of the same mind. Proctor’s counsel
      walked Porcelli through five years of reports that indicate
      Proctor’s behavior in Ad Seg has been genuinely positive, and
      still Porcelli insisted that Proctor should be held in Ad Seg
      simply because he escaped in 1994.
             As for Bellnier, it is unclear what if any standard he uses
      to evaluate Proctor. A reasonable jury could justifiably view
      Bellnier’s testimony as the illustration of a rubber stamp. It
      appears that the portion of the section 301.4(d) review report
      indicating the deputy commissioner’s final decision is filled out
      for Bellnier by a Central Office Committee member before




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      Bellnier conducts any review himself, and that Bellnier merely
      signs the bottom of the form. Bellnier admitted that he has never
      changed the Central Office Committee member’s decision.
      Perhaps that may be why Bellnier failed to respond adequately
      when asked by Proctor’s counsel to articulate a reason why
      Defendants have continued to hold Proctor in Ad Seg. Bellnier
      suggested that Proctor might not be released from Ad Seg even
      if he did everything asked of him; that is, even if Proctor’s
      “attitude with staff and inmates improved considerably and he
      exhibited no negative behavior over a considerable period of
      time and he accepted responsibility for past crimes and
      misconduct,” Bellnier still might not view him as appropriate for
      release to the general population. J.A. 505.
             One comes away from these depositions with nagging
      skepticism about whether there is anything Proctor could ever
      do to be released from Ad Seg. And indeed when Proctor’s
      counsel asked DeLutis that very question, DeLutis made clear
      that the answer is no, stating that there is nothing that Proctor
      can do that would convince DOCCS officials to release him. See
      J.A. 585. DeLutis affirmed that he disregards evidence of
      Proctor’s recent behavior when conducting section 301.4(d)
      reviews because that information has no effect given Proctor’s
      two‐decade‐old escape. See J.A. 585–86.9 It is as if DOCCS
      9It is important to note that Proctor has not just pointed to evidence of
      his good behavior. If he had merely done that and Defendants
      countered that they had reviewed and either genuinely discredited his
      good behavior or found that his poor behavior outweighed it, then
      Proctor’s procedural due process claim would amount to an
      impermissible substantive appeal of his section 301.4(d) reviews. See
      Graziano, 689 F.3d at 116. Here, Proctor has produced evidence of his
      good behavior and evidence that DeLutis may have failed to consider
      that information. That raises constitutional concerns.




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      officials are not just moving the goalposts on Ad Seg inmates
      like Proctor—there are no goalposts at all. That cannot satisfy
      Hewitt.
             The paper evidence raises additional questions about
      whether Proctor’s section 301.4(d) reviews have been designed
      to evaluate or to perpetuate his Ad Seg term. Much of the section
      301.4(d) review paperwork is repetitive and rote. The years of
      virtually identical reports may suggest to a reasonable jury that
      Proctor’s reviewers treated the process as satisfied by boilerplate
      explanations instead of a forthright review. Cf. Sourbeer v.
      Robinson, 791 F.2d 1094, 1101 (3d Cir. 1986) (finding repeated
      careless errors in documentation and rote application of Ad
      Seg’s “purported justifications” evidence of meaningless
      reviews). The review paperwork also contains inexplicable logic
      that raises red flags about whether the underlying reviews were
      conducted genuinely. It is hard to understand why the Facility
      Committee concluded that Proctor’s good behavior, which served
      as a legitimate basis to reduce his time in the SHU for
      Disciplinary Segregation, somehow morphed in the context of
      his Ad Seg determination to indicate that he remained a security
      risk. No witness explained how the Facility Committee reached
      that conclusion. See J.A. 810 (Porcelli: “I can’t explain that.”).
      Defendants’ interpretation of Proctor’s daily cooperation with
      prison officials in Ad Seg as “superficial” and an attempt to
      “mask his resistance to authority” is bizarre and unsupported.
      J.A. 360–66. And Defendants’ dismissal of Proctor’s good
      behavior as irrelevant because the SHU is so restricting that it
      precludes opportunities for misbehavior is patently circular. Cf.
      Williams v. Hobbs, 662 F.3d 994, 1002 (8th Cir. 2011) (relying on
      prison warden’s attribution of inmate’s “years of incident‐free
      conduct to his isolation from the general population” as
      evidence of meaningless reviews). These unusual comments in




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      the paperwork that continues to justify Proctor’s Ad Seg may
      cause a reasonable jury to question the fulsomeness of their
      authors’ analyses.10
              It is important to recognize that not all of the evidence
      points in favor of Proctor. Some of the evidence could lead a
      reasonable jury to conclude, as Defendants urge, that DOCCS
      officials have analyzed Proctor’s good behavior in their section
      301.4(d) reviews and “found it to be outweighed by other facts,”
      specifically Proctor’s multiple escape attempts and violent acts
      towards other prisoners. Appellees’ Br. 30. The deposition
      transcripts and section 301.4(d) review reports contain a


      10 Proctor also argues (unsuccessfully) that whether Defendants have
      used Ad Seg to impose impermissible punishment is a triable issue. If
      Defendants have confined Proctor in Ad Seg solely to discipline him
      then section 301.4(d) reviews, which purport to comply with Hewitt
      but not with the heightened procedures required to impose
      Disciplinary Segregation, are insufficient as a matter of law. See
      Patterson, 761 F.2d at 891. We have made clear, however, that
      compliance with Hewitt satisfies due process where prison officials
      confine an inmate in the SHU for “administrative reasons” that are
      sufficient standing alone, even if the officials also intend the
      confinement “as a form of punishment.” Sher v. Coughlin, 739 F.2d 77,
      83 (2d Cir. 1984); see Deane v. Dunbar, 777 F.2d 871, 877 (2d Cir. 1985).
      Proctor’s evidence, even when viewed in a light most favorable to him,
      demonstrates such a situation. For example, while Porcelli testified
      that “[Ad Seg] is being used for disciplinary reasons for Mr. Proctor,”
      J.A. 797, he also stated repeatedly that the “[n]umero uno” justification
      for Proctor’s Ad Seg term continues to be that Proctor remains an
      escape risk. J.A. 802. Similarly, although some of Proctor’s review
      reports state that Proctor’s “[Ad Seg] status has a disciplinary aspect to
      it,” they do not prove that discipline is the essential purpose for his
      confinement. J.A. 368–74.




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      substantial amount of evidence that a jury may view as
      demonstrating DOCCS officials’ methodical approach to
      conducting periodic Ad Seg reviews, including but not limited to
      the testimony of Kelly and Miller who recounted measured
      review procedures and the reports’ objection‐by‐objection
      responses to Proctor’s written statements. It is not our role on
      review of a grant of summary judgment, however, to weigh that
      evidence against the evidence favorable to Proctor’s claim. See
      Kaytor, 609 F.3d at 545. It is no answer to the evidence Proctor
      has amassed to point to countervailing evidence. That Proctor
      has produced evidence to raise a fair question about the
      procedural sufficiency of his reviews is all that is required today.
                                 *     *     *
              In sum, periodic reviews of Ad Seg satisfy procedural due
      process only when they are meaningful. Reviews are meaningful
      only when they involve real evaluations of the administrative
      justification for confinement, they consider all of the relevant
      evidence that bears on whether that administrative justification
      remains valid, and they ensure that Ad Seg is used as neither a
      form of punishment nor a pretext for indefinite confinement.
      Proctor has produced sufficient evidence to raise factual
      questions about whether his section 301.4(d) reviews have met
      that standard.
                                       II
             Proctor also argues that the District Court’s sua sponte
      grant of summary judgment for Defendants on his substantive
      due process claim violated Federal Rule of Civil Procedure 56(f).
      Rule 56(f) permits a court to grant summary judgment sua sponte
      only “[a]fter giving notice and a reasonable time to respond.”
      FED. R. CIV. P. 56(f); Willey, 801 F.3d at 62. The District Court did
      not notify Proctor or Defendants that it intended to consider
      substantive due process on its own motion. Without notice of the




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      District Court’s motion, of course, neither party had a
      “reasonable time to respond” to it. See FED. R. CIV. P. 56(f); Willey,
      801 F.3d at 62. Indeed, Defendants concede that they failed to
      move for summary judgment on substantive due process and
      that the District Court violated Rule 56(f) in granting them relief.
      Accordingly, we vacate the District Court’s summary judgment
      decision with regard to substantive due process. We express no
      opinion as to the merits of this claim.

                                CONCLUSION
             We have considered the parties’ remaining arguments
      and find them to be without merit. The judgment of the District
      Court dated October 14, 2015, is hereby VACATED in its
      entirety and the case is REMANDED to the District Court for
      further proceedings.




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